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  88     Erik Andersen
  89     Erik Mouw
  90     Erik Stahlman (ES)
  91     ETC s.r.o.
  92     Ethan Sommer
  93     Eugene Konev
  94     Fabio Riccardi
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 118 Hamish Macdonald
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 144 Joakim Axelsson
 145 Johannes Berg
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 147 John Bowler
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 178 Linus Torvalds
 179 Linux Networx
 180 Li-Pro.Net
 181 Liu Peng
 182 Logotronic GmbH
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 202 Martin Langer
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 205 Martin Winistoerfer
 206 Marvell®
 207 Masami Komiya
 208 Matjaz Godec
 209 Matthew Strait
 210 Metrowerks, Inc.
 211 Michael Buesch
 212 Michael Schoenenborn
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 216 Mike Baker
 217 Mike Corrigan
 218 Miles Bader
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 220 MIPS Technologies, Inc.
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 222 Motorola Corporation
 223 Motorola Inc.
 224 MPC-Data Limited
 225 MPL AG Switzerland
 226 M-Systems           Flash   Disk
         Pioneers Ltd.
 227 Murray Jensen
 228 NEC Corporation
 229 Neil Horman
 230 Net Insight AB
 231 Netfilter Core Team
 232 Netgem S.A.
 233 Netservers



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 234 NETsilicon, Inc.
 235 Nicolas Thill
 236 Nikki Chumakov
 237 Novell, Inc.
 238 Nuno Goncalves
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 241 Olivier A. D. Lebaillif
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 247 Pablo Neira Ayuso
 248 Paolo Scaffardi
 249 Patrick Horn
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 251 Paul `Rusty' Russell
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 258 Pekka Pietikainen
 259 Pengutronix e.K.
 260 Pete Popov
 261 Peter Bergner
 262 Petr Liebman
 263 Philip Edelbrock



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 264 Phillip Lougher
 265 Picture Elements, Inc.
 266 Psyent Corporation
 267 PUC-Rio
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 269 Randy Dunlap
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 289 Samsung Electronics
 290 SAN People
 291 Sandburst Corporation
 292 Sascha Hauer
 293 SciTech Software, Inc.



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 294 Scott McNutt
 295 Sean E. Millichamp
 296 Semihalf
 297 Shlomo Kut
 298 Silicon Graphics, Inc.
 299 Simo Sorce
 300 SIXNET
 301 slax.org
 302 Software       Center,   Motorola
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 304 SpellCaster
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 306 Standard            Microsystems
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 315 Stuart Hughes
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 317 Sven Oliver 'SvOlli' Moll
 318 Sven Wegener
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 321 Sysgo Real-Time Solutions,
         AG
 322 Sysgo Real-Time Solutions,
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 323 SysKonnect GmbH.
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 325 Ted Ma
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 330 Tomas Matejicek
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 341 Videon Central, Inc.
 342 Ville Koskinen
 343 Ville Syrjala
 344 Vladimir Gurevich
 345 Waldemar Brodkorb
 346 Waldorf Electronics
 347 Waldorf GMBH



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 348 Werner Cornelius
 349 Wind River Systems Inc
 350 WireSpeed         Communications
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 352 Wolfgang Grandegger
 353 Wu Qi Ming
 354 Xu Liang
 355 Yggdrasil Computing, Inc.
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